        Case 1:17-cv-00215-LMG Document 67-2                    Filed 10/11/18Ib-DSo;<S'f
                                                                                Page 1 of 4
                   Barcode:3535889-03 A-201-845 SUSP - Suspension Agreement         -




SWEETENER USERS AsSOCIATION
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                                            June 9, 2016

                                                                                             o
The Honorable Penny Pritzker                           TIle Honorable Tom Vilsack Ul  r"'l
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Secretary                                              Secretary                      ~
U.S. Department of Commerce
                                                                                      n
                                                       U.S. Department of Agriculture=i
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140lConstitutionAvenue, NW                             1400 Independence Avenue, SW2 ~
Washington, DC 20230                                   Washington, DC 20250            ';;:
                                                            .                                 ~       ~
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Dear Secretary Pritzker & Secretary Vilsack:                                                  I'Tl    ~
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                                                                                                      V1
        Since we are hearing reports of a potential renegotiation of the sugar suspensWln
agreements with Mexico, we are submitting the follo\ving comments on behalf of the Sweetener
Users Association (SUA), a coalition of companies that utilize nutritive sweeteners in their.
business operations, as well as the trade associations to which these companies belong.

                              U.S.-Mexico Suspension Agreements:
                              Critical Issues in Any Renegotiation

        Although portrayed as a way to settle disputes over imports of Mexican sugar and avoid
future market disruptions, the antidumping and countervailing duty suspension agreements
between the U.S. and Mexico have, in fact, themselves been highly disruptive. The agreements
have-

   •    Arbitrarily increased domestic prices beyond the level justified by market fundamentals;
   •    Enshrined a historically low level of ending stocks as a policy target, thereby encouraging
        inadequate sugar supplies; and
   •    Through an attempt to manage the mix of raw and refined sugar in the U.S. market,
        artificially reduced supplies of raw sugar available to U.S. cane refiners, causing that
        industry to operate at sub-optimal capacity utilization,

         A great irony of the suspension agreements' operation is that they have restricted supplies
of raw cane sugar to U.S. refiners at a time when the demand for cane sugar has been increasing
significantly, and demand for beet sugar decreasing, in the U.S. market. This differential
demand growth reflects the increasing popularity of so-called "non-GMO" products. Since cane
sugar is not bioengineered while virtually all beet sugar is, the move by some food manufacturers
to avoid bioengineered products is leading to a stronger demand for cane sugar in the U.S.
market at the very time that the suspension agreements create artificial incentives for Mexico to
export its sugar in refined rather than raw form, bypassing U.S. refiners. This perverse incentive
is the result of the agreements' permitting up to 53% of such exports to be refined sugar, and



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        Case 1:17-cv-00215-LMG Document 67-2                       Filed 10/11/18           Page 2 of 4
                   Barcode:3535889-03 A-201-845 SUSP - Suspension Agreement             -




their establishment of a higher reference price for refined sugar that incentivizes Mexican
exporters to ship as much as possible in that category.

        The reference prices themselves are, however, the greatest single problem in the
agreement. As recently as the 2014 Farm Bill, Congress voted to extend current price support
rates (18.75 cents per pound for raw cane sugar and 24.09 cents per pound for refined beet sugar)
through 2018. Yet by stipulating that the single largest source of sugar imports must be priced -
at the plant of origin, not delivered - at prices much higher than U.S. loan rates, the suspension
agreements virtually guarantee that domestic prices must always trade well above the levels
detennined by Congress through the legislative process not long before the suspension
agreements were implemented. The suspension agreements constitute a stealth price support
increase of nearly 20% and give U.S. sugar processors and producers a huge windfall that they
could never have gotten from Congress.

        The table on the next page presents changes recommended by SUA in the event of a
renegotiation of agreements between the United States and Mexico, which led to the suspension
of antidurnping ("AD") and countervailing duty ("CVD") investigations in December 2014. The
table explains the major problems with the current agreements, recommends specific changes to
the applicable agreement, explains the proposed changes and states a rationale for making the
changes.

        The agreements are referred to as either AD or CVD, along with the relevant section
(e.g., CVD.V.B.4 means the Agreement Suspending the Countervailing Duty Investigation on
Sugar from Mexico, Section V, paragraph B, subparagraph 4).


      Issue            Problem in               Proposed               Description                Rationale
                        Current                  Change
                       Agreements

Reference Prices    -Reference prices in    In AD Appendix I,       -Replaces current         -Congress could
                    AD Appendix I are       strike "SO.2600" and    reference prices for      have increased U.S.
                    excessive, especially   insert "SO.2409";       refined and other         loan rates but did
                    on an FOB basis.        and strike "SO.2225"    sugar with U.S. loan      not; neither should
                    -Prices constitute a    and insert              rates for refined and     the agreements.
                    de faCIO loan rate      "SO.1875".              raw sugar,                -The amendment
                    increase for both                               respectively.             would restore the
                    cane and beet sugar.                                                      implicit refining
                    -The inadequate                                                           margin contained in
                    spread between                                                            U.S. sugar policy.
                    refined and "other"                                                       -Higher transport
                    reference prices                                                          costs from Mexico
                    increases U.S.                                                            to the U.S.,
                    refiner feedstock                                                         compared to
                    costs, compressing                                                        domestic costs,
                    margins.                                                                  should ensure that
                                                                                               U.S. domestic
                                                                                              market prices will
                                                                                               always remain above
                                                                                               forfeiture levels.

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        Case 1:17-cv-00215-LMG Document 67-2                           Filed 10/11/18           Page 3 of 4
                      Barcode:3535889-03 A-201-845 SUSP - Suspension Agreement                  -




Stocks-to-Use (SIU)    .The 13.5% SIIJ         In CVD n.R., strike     .Substitutes a 15.5%         .Provides additional
Target                 target in CVD n.R.      "1.135" and insert      SIIJ, equal to current       access to Mexico.
                       creates a               "1.155",                (May 2016)                   .Should be
                       prcsumption of                                  projections of               consistent with
                       excessively tight                               supplies after               greater flows of raw
                       supplies.                                       USDA'sTRQ                    sugar to refiners.
                       -13 .5% is the very                             increase and
                       lowest point in                                 additional Mexican
                       USDA's historic                                 access.
                       target range,
                       meaning it verges on
                       inadequacy.
                       -In practice, the use
                       of a low SIIJ has
                       exacerbated the
                       problems of U.S.
                       cane refineries in
                       obtaining adequate
                       raw SUl!ar.
Raw-Refined Mix        -Refined sugar may      In CVD V.C.3.,          .Provides for 65-35          .Encourages
                       be up to 53% of         strike "53" and         mix of "other" and           adequate supplies to
                       Mexico's exports.       insert "35".            refined sugar .              cane refineries.
                       •The Agreement's                                                             .Consistent with
                        incentives to ship                                                          USDA aims in May
                       refmed sugar                                                                 2016 grant of
                       (including the high                                                          additional access to
                       reference price)                                                             Mexico, where the
                       create risks of                                                              excess over previous
                        inadequate raw                                                              amount is restricted
                        sugar supplies for                                                          to lower polarity.
                        U.S. cane refiners.
Clarification: U.S.     -Some in Mexico        CVD V.B.4. Add at       -Clarifies that the          •The U.S. never
Autbority to            assert that CVD        the end: "Nothing       reference in the             agreed to make
Increase WTO            V.B.4 requires all     in this Agreement        preceding sentence          Mexico the source of
TRQ                     additional sugar to    limits, constrains or    to "additional need         011 its import needs
                        come from Mexico.      restricts the ability    for Sugar from              beyond the WTO
                        •Though this           of the United States     Mexico" refers, by          minimum TRQ.
                        assertion is           to Increase the          its plain language, to      -Adopting the view
                         incorrect, it could   tariff rate quotas       a need for sugar            of some in Mexico
                        complicate U.S.        established             from Mexico. not             could expose the
                         import policy going    pursuant to the         from the world              U.S. to trade
                         forward Ifnot          Additional U.S.         market, and does not        complaints from as
                         clarified.             Notes to Cbapter        limit U.S. authority        many as 39 quota.
                         •In fact, the          170Uhe                  under longstanding          holding countries .
                         agreements make no     Harmonized Tariff        law to increase            •The U.S. showed its
                         change to U.S. TRQ     Scbedules oUhe          TRQs.                       (correct) view of the
                         authority, which is    United States."                                     Agreement through
                         based on the                                                               the May 2016 TRQ
                         HTSUS.                                                                      increase, and this
                                                                                                     simple clarification
                                                                                                     would avoid any
                                                                                                     future controversv ..




                                                         3
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        Case 1:17-cv-00215-LMG Document 67-2                Filed 10/11/18     Page 4 of 4
                   Barcode:3535889-03 A-201-845 SUSP - Suspension Agreement    -




         SUA believes it is in the public interest for both the Department of Commerce and the
Department of Agriculture to hear how these suspension agreements are affecting the U.S. sugar-
using sector. We hope that you will give serious consideration to the options we have outlined in
this letter. It is critical that we limit any collateral harm caused by any suspension agreements to
this valuable sector of the U.S. economy that provides so many American jobs.

                                            Sincerely,




                                          Richard Pasco
                                            President




                                                 4
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